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                        UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF COLORADO
                        Bankruptcy Judge Joseph G. Rosania, Jr.

 In re:

 CHEE WEI FONG,                              Case No. 21-16813-JGR
 SSN: xxx-xx-3883                            Chapter 11, Subchapter V


          Debtor.


 EDWARD J. KLEN and                          Adv. Pro. No. 21-01010-JGR
 STEPHEN J. KLEN

          Plaintiffs,
 v.

 RICHARD E. WEINGARTEN and
 CHEE WEI FONG

          Defendants.


           ORDER HOLDING ADVERSARY PROCEEDING IN ABEYANCE


      THIS MATTER is before the Court sua sponte. The Defendants filed a Notice of
Pending Settlement on Defendants’ Motions for Sanctions filed in Adversary Proceeding
21-01009-JGR, Edward J. Klen and Stephen J. Klen v. Richard E. Weingarten and Chee
Wei Fong, on June 30, 2022 (Doc. 34). The Court, having reviewed the notice and being
adequately advised the premises, hereby

       ORDERS the above-captioned Adversary Proceeding shall be held in abeyance
up to and including August 26, 2022; and

      FURTHER ORDERS the parties shall file a Motion to Dismiss or Status Report on
or before August 26, 2022, failing which, the Court will enter an Order Denying
Defendants’ Motion for Sanctions filed December 6, 2021 (Doc. 28), and closing the within
Adversary Proceeding.
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Dated: July 5, 2022.

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                                      ed S
                                  United  tates Bank
                                         States  Bankruptcy Judge




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